 Case 1:17-cv-00365-JJM-LDA Document 116 Filed 07/19/22 Page 1 of 4 PageID #: 2086


AO 888 (Rev. 02/14) Subpoena to Produce Documents, lnfomation, or Objects or to Permit Inspection of prem]ses in a Civil Action



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                            District of Rhode Island                   E
                        JANE DOE, et al

                              Plaindff
                                                                                      Civil Action No.      1 :17-CV-000365
                CITy oF PAwhucKET, et al




                       SUBPOENA T0 PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         0R T0 PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                Thomas James Anderson


                                                      (Name Of person to whom this s-ubpoena ls diieected)

      tf
      Prod#cji.o#.. YOU ARE COMMANDEI) to produce at the time, date, and place set forth below the following
documents, electronically stored inforlnation, or objects, and to permit inspection, copying, testing, or sampling of the
material: PLEASE SEE EXHIBIT A, ATTACHED.




                                                                                       Date and Time:
 iPLace:LawofflcesofHovarth&Hovarth
           75 Park Place, Pawtucket, Rl 02860                                            q I 21 I toa2> e I I i c)oci y"
     D /HspecJz.oj? a/Prem!.ses.. YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:




       The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to




                                Notice to the person who issues or requests this subpoena
 lf this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
  Case 1:17-cv-00365-JJM-LDA Document 116 Filed 07/19/22 Page 2 of 4 PageID #: 2087


 AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Perinit Inspection of Premises in a Civil Action (Page 2)


 Civil Action No. 1 :17-cv-000365


                                                                PROOF OF SERVICE
                      (This sechon should not be fi.led with the court unless required by Fed. R. Civ. P. 45.)

           I received this Subpoena for /#ame a/I.#di.vidwa/ c[#d f!.//a, i/aHy/                               SL\ f lit-,,J_
 cm(dale)          O)//         22       .




            I I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            S


 My fees are S                                      for travel and S                                for services, for a total of S



            I declare under penalty of perjury that this information is true.



 Darf ye             O)//WILL
                                                                             ``>7                          --
                                                                                                      Server 's signature

                      /6j?/4                                                                            ' I-` '. C'J".`=TTE

                                                                                             •.-.   Printed.none.andrti¢le= u




                                                                                                              ran_rf efi_i4¢ 42_
                                                                                                       Server ` s address
                                                                                                                                              T2 Ptr
  A,ddrfundyndomRTrfuonregfrrd"garrvrfe                                                                            1 tt/-




37 L/ -y 2L/ L/
  Case 1:17-cv-00365-JJM-LDA Document 116 Filed 07/19/22 Page 3 of 4 PageID #: 2088


AO 888 (Rev 02/14) Subpoena to Produce Documents, Infomalion, or Objects or to Pemitluspection of Premises in a Civil Action(Page 3 )


                                 Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) qffective 12/1/13)

(c) Place of Compliance.
                                                                                               notd(e`:}£;Sec's°psej:jgfiro:curl:iincee:::Pd::;:t:Pal:i°:;;,isnfifrma&°ene¥pa:rid,°ses
                                                                                               study that was not requested by a party.
p:,;\o;a:,:i:E'n:;a:m#tgffig?:o£,e:fl.:,!:Se::dF:osef:fi:To,x:s;:dT,:da
regularly transacts business in person; or
  (8) within the state where the person resides, is employed, or regularly
                                                                                               i:o£;i::¥;i;i¥ss§bj§{i:)![:;§[:}:;§a::C;°¥:re"¥t¥:;i§y:iini¥:in:dn¥:S:§j¥C::iaeiotbe
trans#:sb8u;tan;So!rnap;:S;n,.s':#[ec::r::n
                                                                                               otherwise met without undue hardship; and
    (ii) is commanded to attend a trial and would not incur substantial                             (ii) ensures that the subpoenaed person will be reasonably coinpensated.
expense.
                                                                                               (e) Duties in Responding to a Subi)oem.
 (2) For Of^er I)I.scovery. A subpoena may command:

tan(gt£,Per#j::t:°aT:fpia°cceu:;e,::n.:;eoci9ine'::'iywsht:I:dth[:;°eToa;'°ren;i::s„s          p(\'g3gs=:#&#i?gocup##u%=r8E##en#`Csa!L\ye££=odn:®n#°+;m#.=dmThese
employed, or regularly transacts business in person; and                                       infomation:
  0}) inspection of premises at the premises to be inspected.                                     (A) Docwme#/s. A person responding to a subpoena to produce documents

                                                                                               :::3::gLu,c=tLeF[:3ethy#etokeft;:sgoen:rfn,gcca:e¥oeri::Pnusanee:::rand.
(A) Protecting a Person Subject to a Subpoem; EnfoTcemeDt.

 (+) Avoiding Undue Burden or Expense; Sanctions. .A party or :I!tomey
                                                                                               [f:ELbFpooTn{o:o::ondo„tc;;gc#a,rfi3nLc%fpsr,:::gj:„g,oet:ca::on:c::,;£sf::£ed
responsible for issuing and serving a subpoem must take reasonable Steps                       information, the person responding must produce it in a form or foims in
                                                                                               which it is ordinanly maintained or in a reasonably usable fomi or foms

                                                                                               pe£53nE[,eesc##yeseldorneod`1pnfty,li:sP%ef=g`:gn3#lylyosntgTf3rm.The
::;si;::c!t:hnTg¥:;dog;¥ieii;e:d:a:n::;::;;h;ei:a:t:£::!iEp;£sws!i,¥::fj!j;;:iuode             information in more than one form.
fails to comply.                                                                                  (D)1naccessibleEleclronicallyslored!nformali.on:.Theper3on.

  (I) Commii).d to Produce Materials or Permit lnsprtyon.
                                                                                               ¥;B:::8e:e#tn&tepp:rYs'od:idol:£3¥,ec?a:fne::::=*;I,yysat:::gs#:E::1:ne

dot:|£#£:ae|::t::nT::if;3t"::eefinAfop:Sa°tino::Ftoanngdi%ietothT:::I::to
                                                                                               :e:is#::i;;;put:s:o::;,:s,£edc8an:gs?:ut;:ih:ij:thmfeeLn::,:nc:o:viTf,o:n:::s;:pt:::ego:,sve
                                                                                                made, the court may nonetheless order discovery from such sources if the
3:oEj::,hoen'=T::;'%i::pu:E:jse:|'s:ece:Eta:pdpeed¥o':pppeersa:Toart:hdeeB:as:te,::,
hearing, or trial.
                                                                                                Z6q&;{¥);8)PaT?escho°uwrts£:;ds;::js;':::a:i,:n:gfoT:h`:mdi:c':::;;fRu'e
th,Pg)sgrfJt.:C;`:°#,t?n!;=c:ro:°mma?as:djgoton££:dpu;d:::%:t:y°ae¥::::d
 in the subpoena a wntten objection to inspecting, copying, testing, or                         (I) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspec`ing the premises-r to                         (A) /H/a/7#a!I.oH Wi.!*Ae/d. A person withholding subpoenaed informa on
                                                                                                under a claim that it is privileged or subject to protection as trial-preparation
 irh°ed:3;:8t:i:C:3:jcbae``sye%rde:e¥ofi:eThaet`e°anri,:rthoefL°cmtifrefs°pTc:fii3ufi:Srted.    matenal must:
 compliance or 14 days after the subpoena is served. If an objeetion is made,                      (i) expressly make the claim; and
 the following rules apply:                                                                        (il) describe the nature of the withheld documents, communications, or
                                                                                                tangible things in a manner that, without revealing information itself
      (i) At any time. on notice to the commanded person, the serving party
 may move the cour[ for the distnct where compliance is required for an                         privileged or protected, will enable the parties to assess the claim.
 order compelling production or inspection.


 :,?:i\t,au:;h;:ro:te:::t:a:e:i::f:i::no:#e,rfc::=eeyt:::natEae#se:,£::rtieom £it|!-r:e:c{eifa;Si#;3n:ne::it::iic:,:#iei;P°:ng#n:°;r;a:e:;ja;§i:tl#:y:t;:;;fy:;;:,::rty
  (3i) Quashing or Modif ying a Sub|)oena.
   (A) W'*en jicqwi.red On tinely motion, the court for the distnct where
 compliance is required must quash or modify a subpoena that:                                   g;;i:£h:e'::::1;Eg;sit:Sv!:le;sci:;§e;dj;:k:i:;;s::s!:€e:site:6s::!i:s:tiriei;::jaESe;:e:dop:,y




                                                                                                                                                                       I
     (i) fails to allow a reasonable time to comply;                                            present the information under seal to the court for the dlstrict where
     (ii) requires a person to comply beyond the geographical limits
 specified in Rule 45(c);                                                                       ;:omdput;gdct::St:efi:#r:a;:r:uds:I;gsjen£:::e°,fn`foe:I:t'iTn¥:iipth=°cTa*:s
                                                                                                resolved.
     (iii) requiTes disclosure of pnvileged or other protected matter, if no
 exception or waiver applies; or
       (iv) subiects a person to undue burden.
                                                                                                #:ecc::trte%¥`t.hedistnctwhcrocompliancei"equired-dalso,aftera
 su(bBp)oe%*a:"th:ecro"#'efg.rTfepdri°stic:tawphe::::oS#ejci:°e:::e%euc::€bmya;,on              motion is transfeITed, the issuing court-may hold in contempt a person
                                                                                                who, having been served. fails without adequate excuse to obey the
 motion, quash or modify the subpoena if it requires:
                                                                                                subpoena or an order related to it.
      (i) disclosing a trade secret or other confidential research,
 development, or commercial infomation, or




                                                For access to subpoem matenals, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 1:17-cv-00365-JJM-LDA Document 116 Filed 07/19/22 Page 4 of 4 PageID #: 2089




                                          EXHIBIT A



 All documentation, including but not limited to notes, drafts, transcriptions and memoranda,
 which were your mental impressions obtained or recorded in your capacity as Union
 Representative for the Pawlucket Teachers' Alliance during meetings at the Pawlucket Leaming
 Academy and/or meetings called by members of the Pawtucket School Department and/or
 Pawtucket Teachers' Alliance wherein:



        A.   David Morton gave statement(s), written or oral, and/or testimony; or

        8. Other teachers, staff, administrators, students and/or others gave statement, written or
           oral, and/or testimony regarding David Morton, his conduct, his actions, and/or
           allegations thereof; or

        C. David Morton, his conduct, his actions and/or allegations thereof, were the subject of
           discussion by other teachers, staff, administrators, students and/or others .
